     Case 8:21-cr-00041-JVS Document 26 Filed 01/10/22 Page 1 of 3 Page ID #:162



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. 8:21-CR-00041-JVS

14             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
15                   v.                      PURSUANT TO SPEEDY TRIAL ACT
16   EDWARD KIM,                             CURRENT TRIAL DATE:
                                             January 25, 2022
17             Defendant.                    NEW TRIAL DATE:
                                             March 15, 2022
18
                                             CURRENT STATUS CONFERENCE DATE:
19                                           January 18, 2022 at 9:00 a.m.
                                             NEW STATUS CONFERENCE DATE:
20                                           March 7, 2022 at 9:00 a.m.

21
          The Court has read and considered the Stipulation Regarding
22
     Request for (1) Continuance of Trial Date and (2) Findings of
23
     Excludable Time Pursuant to the Speedy Trial Act, filed by the
24
     parties in this matter on January 10, 2022.         The Court hereby finds
25
     that the Stipulation, which this Court incorporates by reference into
26
     this Order, demonstrates facts that support a continuance of the
27
     trial date in this matter, and provides good cause for a finding of
28
     Case 8:21-cr-00041-JVS Document 26 Filed 01/10/22 Page 2 of 3 Page ID #:163



 1   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 2        The Court further finds that: (i) the ends of justice served by

 3   the continuance outweigh the best interest of the public and

 4   defendant in a speedy trial; (ii) failure to grant the continuance

 5   would be likely to make a continuation of the proceeding impossible,

 6   or result in a miscarriage of justice; and (iii) failure to grant the

 7   continuance would unreasonably deny defendant continuity of counsel

 8   and would deny defense counsel the reasonable time necessary for

 9   effective preparation, taking into account the exercise of due

10   diligence.

11        THEREFORE, FOR GOOD CAUSE SHOWN:

12        1.      The trial in this matter is continued from January 25, 2022

13   to March 15, 2022.    The pretrial status conference is continued to

14   March 7, 2022 at 9:00 a.m.

15        2.      The time period of January 25, 2022 to March 15, 2022,

16   inclusive, is excluded in computing the time within which the trial

17   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (B)(i), and

18   (B)(iv).

19        3.      Nothing in this Order shall preclude a finding that other

20   provisions of the Speedy Trial Act dictate that additional time

21   periods are excluded from the period within which trial must

22   commence.    Moreover, the same provisions and/or other provisions of

23   the Speedy Trial Act may in the future authorize the exclusion of

24   //

25   //

26   //

27   //

28

                                          2
     Case 8:21-cr-00041-JVS Document 26 Filed 01/10/22 Page 3 of 3 Page ID #:164



 1   additional time periods from the period within which trial must

 2   commence.

 3        IT IS SO ORDERED.

 4
      January 10, 2022
 5
      DATE                                    HONORABLE JAMES V. SELNA
 6                                            UNITED STATES DISTRICT JUDGE
 7

 8   Presented by:
 9      /s/
     JULIA HU
10   ANDREW M. ROACH
     Assistant United States Attorneys
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          3
